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  16
                              UNITED STATES DISTRICT COURT
  17
               CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
  18
       Jenny Lisette Flores, et al.,              Case No. CV 85-4544-DMG (AGRx)
  19
                        Plaintiffs,               MEMORANDUM IN SUPPORT OF MOTION
  20                                              TO ENFORCE CLASS ACTION
             v.                                   SETTLEMENT
  21

  22   Jefferson B. Sessions, Attorney General,   Hearing: May 18, 2018
       et al.,                                    Time:    9:30 a.m.
  23
                                                  Room:    1st St. Courthouse
                        Defendants.
  24                                                       Courtroom 8C
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   1   I     INTRODUCTION
   2         On January 28, 1997, the Court approved a class-wide settlement of this action.
   3   Exhibit 80, Plaintiffs’ Exhibits, filed herewith (“PX”), at 556 (“Settlement”). The
   4   agreement sets standards for the detention and release of juveniles detained for
   5   alleged civil violations of the Immigration and Nationality Act, 8 U.S.C. §§ 1101 et
   6   seq.1 The Settlement binds successors to the Immigration and Naturalization Service
   7   (“INS”), including Department of Health and Human Services’ Office of Refugee
   8   Resettlement (“ORR”), which since 2002 has been responsible for the custody and
   9   release of unaccompanied class members.2
  10         The Settlement requires ORR to minimize the detention of children and,
  11   thereby, the harm detention causes them. In the William Wilberforce Trafficking
  12   Victims Protection Reauthorization Act of 2008, 110 Pub. L. 457, 122 Stat. 5044,
  13   codified in pertinent part at 8 U.S.C. § 1232 (“TVPRA”), Congress incorporated this
  14   bedrock principle into federal law.
  15         ORR has nonetheless adopted certain policies and practices that prolong
  16   children’s detention under ever-harsher conditions, creating a continuum of trauma
  17   that class members—many of whom arrive in the United States having suffered
  18   horrific abuse abroad—are ill-equipped to endure.
  19

  20
       The Settlement covers “all minors who are detained in the legal custody of the INS,”
       1

  21 and binds the INS and Department of Justice, as well as “their agents, employees,
  22
     contractors, and/or successors in office.” Settlement ¶ 1. The Settlement is binding
     until “45 days following defendants’ publication of final regulations implementing
  23 this Agreement.” Exhibit 3, Plaintiffs’ First Set of Exhibits, etc., Feb. 2, 2015 (Dkt.

  24 101), at 54. Defendants have never published such regulations.
      In 2002, the Homeland Security Act, Pub. L. 107-296, 116 Stat. 2135 (“HSA”),
       2
  25
     dissolved the INS and transferred most of its functions to the Department of
  26 Homeland Security (“DHS”). Congress directed, however, that the ORR should have
     authority over unaccompanied minors detained pursuant to the INA. 6 U.S.C § 279.
  27
     The HSA included savings provisions that continue the Settlement in effect as to the
  28 INS’s successor agencies. HSA §§ 462(f)(2), 1512(a)(1).
                                                           MEMORANDUM IN SUPPORT OF MOTION
                                                  1                 TO ENFORCE SETTLEMENT
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   1         First, ORR “steps up” youth from shelters to medium-secure, secure, and
   2   psychiatric facilities without the most rudimentary procedural fairness or
   3   transparency. Youth housed in shelters report being awakened in the small hours of
   4   the morning and soon thereafter finding themselves confined in juvenile halls or
   5   psychiatric facilities. ORR allows youth no administrative procedure—no interview,
   6   hearing or administrative appeal—by which they may defend themselves against
   7   needless step-up.
   8         Second, ORR routinely administers children psychotropic drugs without lawful
   9   authorization. When youth object to taking such medications, ORR compels them.
  10   ORR neither requires nor asks for a parent’s consent before medicating a child, nor
  11   does it seek lawful authority to consent in parents’ stead. Instead, ORR or facility
  12   staff sign “consent” forms annointing themselves with “authority” to administer
  13   psychotropic drugs to confined children.
  14         Finally, the above practices—unlawful in and of themselves—work a further
  15   injustice: once ORR steps up a class member, winning release to available custodians
  16   becomes exponentially more difficult, and prolonged detention all but certain.
  17   According to ORR policy, children who have ever been in a staff-secure or secure
  18   facility remain detained until ORR’s director or his designee consents to release; such
  19   consent is typically many weeks in coming, if it comes at all, and is required even
  20   when the step-up was based on “inaccurate, or erroneous information.”
  21         Once ORR steps up a youth to a residential treatment center (“RTC”), an RTC
  22   doctor must authorize release. In effect, ORR’s summarily dispatching a child to a
  23   psychiatric facility converts immigration-related custody into indefinite civil
  24   commitment, and ORR does so without affording youth the most rudimentary
  25   procedural protection.
  26         Such a continuum of trauma would not be inflicted today on any other
  27   population. But ORR detains immigrant and refugee children and freely exalts its
  28
                                                  2         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                           ENFORCE SETTLEMENT
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   1   own administrative convenience to deny basic protections the Settlement confers. It
   2   falls to this Court to remedy a palpable injustice.
   3   II    THE COURT MAY AND SHOULD PRESCRIBE PROCEDURAL REMEDIES TO
   4         PROTECT THE SETTLEMENT’S SUBSTANTIVE PROVISIONS.

   5         This Court has affirmed its jurisdiction to enforce the Settlement and set out
   6   the principles for doing so. Order re: Plaintiffs’ Motion to Enforce Settlement, July
   7   24, 2015 (Dkt. 177), at 3 (“24A Order”). Those principles remain apposite and need
   8   not be repeated here.
   9         As concerns remedy, the Court has “‘inherent power to enforce consent
  10   judgments, beyond the remedial contractual terms agreed upon by the parties
  11   [because] a consent judgment contemplates judicial interests apart from those of the
  12   litigants.’” United States v. N.Y.C. Dist. Council of N.Y.C., 229 Fed. Appx. 14, at *18,
  13   181 L.R.R.M. 3105 (2d Cir. 2007). “Until the parties have ‘fulfilled their express
  14   obligations’ to comply with a consent decree, ‘the court has continuing authority and
  15   discretion—pursuant to its independent, juridical interests—to ensure compliance.’”
  16   Id. at *18 n.5 (internal citation omitted, alteration in original); United States v. Volvo
  17   Powertrain Corp., 758 F.3d 330, 343 (D.C. Cir. 2014) (“Where, as here, a consent
  18   decree ‘does not specify the consequences of a breach,’ the district court has
  19   ‘equitable discretion’ to fashion a remedy for violations of the decree.”) (internal
  20   citations omitted).
  21         In Stone v. City & County of San Francisco, 968 F.2d 850, 861 & n.20 (9th
  22   Cir. 1992), the Ninth Circuit held that a federal court’s authority to remedy violations
  23   of a consent decree are the same as when constitutional violations occur. The
  24   Supreme Court, of course, has often prescribed procedures, independently of the Due
  25   Process Clause, to protect constitutional rights. E.g., Gerstein v. Pugh, 420 U.S. 103,
  26   112, 95 S. Ct. 854, 43 L.Ed.2d 54 (1975) (“To implement the Fourth Amendment’s
  27   protection against unfounded invasions of liberty and privacy,” magistrate must
  28   review probable cause for arrest ) (emphasis in original); Miranda v. Arizona, 384
                                                    3         MEMORANDUM IN SUPPORT OF MOTION TO
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   1   U.S. 436, 478-79 (1966) (when detained individual is subjected to police questioning,
   2   “the privilege against self-incrimination is jeopardized [and] [p]rocedural safeguards
   3   must be employed to protect the privilege.”).
   4         This Court may accordingly prescribe procedures in furtherance of the
   5   Settlement’s substantive standards. E.g., EEOC v. Local 580, Int’l Ass’n of Bridge,
   6   Structural & Ornamental Ironworkers, 925 F.2d 588, 592 (2d Cir. 1991) (affirming
   7   “creation of backpay hearings” to further compliance with consent decree).
   8         Constitutional principles of due process are in accord. Because the Government
   9   voluntarily entered into the Settlement, the substantive rights it provides are “state-
  10   created.” Smith v. Sumner, 994 F.2d 1401, 1406 (9th Cir. 1993). ORR may not,
  11   therefore, deny class members those rights without due process. Id.3 Each of the
  12   remedies Plaintiffs seek is justified under the familiar test for determining what
  13   process is due. See Mathews v. Eldridge, 424 U.S. 319 (1976).
  14         The Court should enter a remedial order in the form proposed herewith.
  15   III   ORR UNLAWFULLY DENIES CLASS MEMBERS LICENSED PLACEMENTS.
  16         A      Youth have a compelling interest in licensed placement.
  17         Settlement ¶ 19 requires ORR to place the general population of class members
  18   in non-secure facilities licensed to care for dependent, as opposed to delinquent,
  19   minors. ORR may deny youth a licensed placement only under defined
  20   circumstances. Settlement ¶ 21.
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       3Other circuits may hold to the contrary, at least as concerns prospective relief. E.g.,
  28   Benjamin v. Jacobson, 172 F.3d 144, 164 (2d Cir. 1999).
                                                   4         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                            ENFORCE SETTLEMENT
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   1         At any given time, ORR confines approximately 200 youth in three types of
   2   unlicensed facilities:4 (1) “staff-secure” facilities; (2) RTCs; and (3) juvenile jails.5
   3   Class members have a clear interest in avoiding step-up to unlicensed facilities.
   4         In contrast to children in licensed placements, children in staff-secure facilities
   5   and RTCs typically must wear institutional clothing, are kept under 24-hour
   6   surveillance, have limited contact with family, and are summarily disciplined for
   7   violations of facility rules. Decl. of Isabella M., Exhibit 10 (PX 61) ¶ 2 (“Isabella
   8   M.”) (minor under 24-hour surveillance); Decl. of Gloria P., Exhibit 41 (PX 233) ¶ 2
   9   (“Gloria P.”) (same); Decl. of John Doe 2, Exhibit 74 (PX 470) ¶ 27 (“If you lose two
  10   points in a day, you don’t go outside your room.”). A children’s lawyer describes
  11   security at a staff-secure facility as follows:
  12         The entrance to the area of the building where the UAC children are detained is
  13         always locked, and I must press a buzzer and wait for security to allow me to
  14         enter. The door is locked from both sides, and so a staff member is also
  15         required to unlock the door and let me out . . . Once I have entered the
  16         Morrison Facility, I must . . . await staff to open a second locked door before I
  17         can enter the hallway leading to the locked room where I meet with [my
  18         client]. To my recollection, every door that I have seen be opened at Morrison
  19         must be opened by a staff member with a key.
  20
  21   4 A “licensed program” must be “licensed by an appropriate State agency to provide
  22   residential, group, or foster care services for dependent children. . . . All homes and
       facilities operated by licensed programs . . . [must] be non-secure as required under
  23   state law. . . .” Settlement Definition 6. Although staff-secure, RTC, and secure
  24   facilities may hold a license of some sort, they are not “licensed placements” as the
       Settlement defines them. See 24A Order at 4 (Yolo juvenile hall “not licensed to care
  25   for dependent children.”).
  26  ORR currently houses detained youth in three juvenile jails: Yolo County Juvenile
       5


  27 Hall in California, and Shenandoah Valley Juvenile Center (“SVJC”) and Northern
     Virginia Juvenile Detention Center (“NoVA”) in Virginia. Decl. of Carlos Holguín,
  28 Exhibit 87 (PX 648) ¶ 3 (“Holguín”).
                                                    5          MEMORANDUM IN SUPPORT OF MOTION TO
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   1   Decl. of Leland Baxter-Neal, Exhibit 5 (PX 32) ¶¶ 9-10; see also Decl. of Nicolás C.,
   2   Exhibit 2 (PX 13, 16-17) ¶¶ 7-8 (“The conditions of Paso are very different from
   3   those of the shelter in Kansas City. . . . Everything has a key. . . . I always have to
   4   wear a uniform, which makes me feel like a prisoner.”).
   5         Conditions in secure facilities are more restrictive and prison-like still. Class
   6   member Samuel W. describes them as follows:
   7         I am suffering a lot being in the Yolo Juvenile Detention Center. It is a jail and
   8         I sleep in a locked, small jail cell. I can’t leave here and have no freedom at all.
   9         We only get one hour of time outside each day. I have to live in a small cell
  10         with concrete walls. We have to sleep on hard beds with very thin mattresses.
  11   Decl. of Samuel W., Exhibit 44 (PX 248) ¶ 8 (“Samuel W.”).
  12         Youth in secure facilities report being handcuffed, locked in cells, and pepper
  13   sprayed. Decl. of Julio Z., Exhibit 64 (PX 420-21) ¶¶ 29, 31 (“Julio Z.”) (“I sleep in a
  14   locked jail cell. . . . The guards also push us, pepper spray us[.] . . .”); Decl. of John
  15   Doe 1, Exhibit 73 (PX 460, 462) ¶¶ 9, 20 (“At Shenandoah, my room had a mattress,
  16   a sink, and a toilet . . . I was forced to wear handcuffs on my wrists and shackles on
  17   my feet for approximately 10 days in a row.”); Decl. of John Doe 3, Exhibit 75 (PX
  18   475) ¶ 12 (“[W]henever I was put in restriction, they took away my mattress and
  19   blanket. They took my clothes away about 8 times.”); Decl. of D.M., Exhibit 76 (PX
  20   483-84) ¶¶ 16-18 (Children strapped into chairs, and bags placed over their heads;
  21   youth thought, “they are going to suffocate me. . .”).
  22         B      ORR affords youth neither adequate notice nor opportunity to be
  23                heard in denying them licensed placements.
  24         Despite their clear interest in licensed placement, ORR regularly steps up youth
  25   without giving them notice or the least opportunity to be heard. Class member
  26   Roberto F.’s description is fairly typical:
  27         One day I had a disagreement on the soccer field. A staff member approached
  28         me suddenly. I was surprised and without thinking I reacted, but I was accused
                                                     6         MEMORANDUM IN SUPPORT OF MOTION TO
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   1         of beating him. About two days later, suddenly at four in the morning the
   2         supervisor came to tell me that they were going to move me to another
   3         program. And that is how I arrived at Shenandoah. They gave me no hearing or
   4         opportunity to explain my side of the facts.
   5   Decl. of Roberto F., Exhibit 37 (PX 214, 218) ¶ 7 (“Roberto F.”); see also Decl. of
   6   Jaime V., Exhibit 45 (PX 252-53) ¶¶ 11-14 (youth not told where he was going;
   7   thought he was being deported); Decl. of Ricardo U., Exhibit 39 (PX 225) ¶ 2
   8   (stepped up minor falsely told he was being stepped down); Gloria P. (PX 233) ¶ 3
   9   (stepped up minor falsely told she was going to another shelter).6
  10         And ORR step-ups are entirely unilateral. The agency purports to use a
  11   “placement tool,” into which it enters information about a child. ORR, Children
  12   Entering the United States Unaccompanied: § 1.3.2, available at
  13   www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-
  14   section-1#1.3.2 (last rev. Apr. 22, 2016). The tool generates a “score” and
  15   recommends placement: licensed or stepped up. Only ORR supervisory federal field
  16   specialists may override the tool’s recommendation. Id.
  17         Once ORR decides to step up a youth, it sometimes uses a form, “Notice of
  18   Placement in a Restrictive Setting,” Exhibit 22, PX 114-15, which, to Plaintiffs’
  19   knowledge, exists only in English, to explain its reasons for step-up. Most youth
  20   report never having seen the form. Samuel W. (PX 248) ¶¶ 2, 7 (“I speak Spanish and
  21   only a few words of English. . . . When the government sent me to Yolo Juvenile
  22   Detention Center, . . . I don’t remember them ever giving me any explanation of my
  23   rights in Spanish . . .”); Supp. Decl. of Isabella M., Exhibit 11 (PX 66-67) ¶ 6 (minor
  24   never given form notice of placement in restrictive setting); Supp. Decl. of David I.,
  25   Exhibit 15 (PX 86-87) ¶ 3 (same).
  26

  27
       6 ORR’s failing to notify children of the basis for step-up also denies notice of their
  28   right to judicial review in violation of Settlement ¶ 24C.
                                                   7         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                            ENFORCE SETTLEMENT
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   1         Even were ORR to issue its form notice consistently, it would do class
   2   members little good. Few read English, and ORR allows neither children nor their
   3   lawyers to inspect or rebut its evidence or otherwise oppose step-up. Short of going to
   4   federal court, children simply have no procdure by which they may contest ORR
   5   decisions to deny licensed placement.7 Decl. of Sofia O., Exhibit 40 (PX 228) ¶ 5
   6   (“Sofia O.”) (“I did not have an opportunity to object to the transfer.”); Gloria P. (PX
   7   233) ¶ 3 (“I don’t remember receiving any document that explained that I had the
   8   right to challenge the government’s decision to send me to Shiloh.”); Decl. of Javier
   9   C., Exhibit 30 (PX 170) ¶ 4 (“Javier C.”) (same); Decl. of D.M., Exhibit 76 (PX 481)
  10   ¶ 5 (“But I never had a chance to dispute this [transfer.]”).
  11         This is not exactly what the Ninth Circuit envisioned when it affirmed this
  12   Court’s order requiring ORR to provide minors bond hearings:
  13         For those minors in secure detention, bond hearings additionally provide an
  14         opportunity to contest the basis of such confinement. For example, the TVPRA
  15         allows children to be placed in secure detention facilities only if they pose a
  16         safety risk to themselves or others, or have committed a criminal offense.
  17         These are precisely the determinations made by an immigration judge at a bond
  18         hearing.
  19         Providing unaccompanied minors with the right to a hearing under Paragraph
  20         24A therefore ensures that they are not held in secure detention without cause.
  21

  22   7 ORR purports to allow children to request “reconsideration” of placement in a
  23   secure or RTC facility, but only after they have spent 30 days in one. Exhibit 22, PX
       115. Youth who have spent far longer in such facilities report knowing nothing about
  24   this or any other means to request step-down. E.g., Gloria P. (PX 233) ¶ 4 (youth
  25   detained nearly four months in RTC; “No one has sat down with me and reviewed
       whether I should be stepped down . . . or told me . . . what I have to do in order to
  26   step down.”); Decl. of Carlos A. Exhibit 31 (PX 175) ¶ 5 (“Carlos A.”) (youth
  27   detained three months in juvenile hall; “I don’t remember them ever telling me that I
       could ask for the decision to put me here to be reviewed . . .”); Decl. of Gabriela N.,
  28   Exhibit 19 (PX 103) ¶ 7 (same; youth detained three months in RTC).
                                                   8         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                            ENFORCE SETTLEMENT
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   1   Flores v. Sessions, 862 F.3d 863, 868 (9th Cir. 2017) (emphasis added).
   2           ORR simply disregards the Ninth Circuit’s holding, insisting that it “only
   3   applies to the question of dangerousness as it applies to release. An immigration
   4   judge’s order may be taken under advisement when making a placement decision but
   5   is not binding on ORR . . .” Email from T. Biswas, Feb. 23, 2018, Exhibit 70, PX
   6   448.8
   7           Nor is class members’ suing in federal court a viable remedy. ORR contrives to
   8   deny them counsel to challenge step-ups, thus ensuring that indigent, non-English-
   9   speaking minors have no meaningful chance to do so.
  10           TVPRA § 235(c)(5) requires ORR to “ensure, to the greatest extent practicable
  11   . . . that all unaccompanied alien children who are or have been in the custody of
  12   [ORR], and who are not [from continguous countries], have counsel to represent them
  13   in legal proceedings or matters and protect them from mistreatment. . . .” (Emphasis
  14   added.)
  15           Congress appropriates funds so ORR may provide lawyers to minors in its
  16   custody. Between 2009 and 2013, ORR paid the Vera Institute of Justice nearly $40
  17   million to provide legal services. Exhibit 16, Plaintiffs’ Exhibits, Aug. 12, 2016 (Dkt.
  18   239-3), at 51. Vera sub-contracts with legal aid programs to represent class members.
  19   Id. at 7-9.
  20           All this does class members little good in securing their rights under the
  21   Settlement:
  22           Lawyers whom the Vera Institute funds had, and continue to have, [little]
  23           latitude in advocating for detained immigrant and refugee children. . . .
  24           [D]uring my employment with [Vera-funded] HIAS Pennsylvania I was
  25           instructed that I could not assist detained children [to] challenge ORR’s release
  26

  27  Mr. Biswas issued his email in the case of former class member Santiago H. An
       8

     immigration judge found Santiago not dangerous and ordered ORR to step him down.
  28 Custody Order, Feb. 21, 2018, Exhibit 68, PX 443. ORR simply refused.
                                                    9         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                             ENFORCE SETTLEMENT
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   1           or placement decisions, no matter how arbitrary or otherwise unlawful ORR’s
   2           decisions appeared. I know of no Vera-funded legal services provider who has
   3           ever represented a minor in federal court against ORR.
   4   Decl. of Justin Mixon, Exhibit 81 (PX 588) ¶ 9 (“Mixon”); see also Affidavit of
   5   Lorilei Williams, Exhibit 85 (PX 617) ¶ 19 (ORR “hobbles free legal services
   6   providers who undertake to represent detained children.”); Decl. of Megan Stuart,
   7   July 29, 2016, Exhibit 86 (PX 626-27) ¶¶ 22-24 (same).
   8           As a practical matter, Vera-funded services are the only legal help most class
   9   members will ever get. Mixon (PX 587) ¶ 8 (“Apart from Vera Institute-funded legal
  10   services providers, I know of only a handful of lawyers who are truly versed in the
  11   rights of immigrant and refugee minors in ORR custody. In my experience, private
  12   practitioners generally lack the resources to pursue federal litigation on behalf of their
  13   clients[.] . . .”).
  14           ORR’s blocking Vera lawyers from helping detained minors challenge step-up
  15   ensures that few, if any, class members will ever do so.
  16           D       Peremptory step-ups violate ¶¶ 19, 21 and 24B of the Settlement.
  17           ORR’s policies deny minors licensed placements on grounds neither the
  18   Settlement nor the TVPRA authorize.
  19           The Settlement permits unlicensed placement in five circumstances9: the minor
  20   (1) has committed a violent crime or non-petty delinquent act; (2) threatened violence
  21   while in federal custody; (3) is an unusual escape-risk; (4) is so disruptive that secure
  22   confinement is necessary to protect the minor or others; or (5) must be protected from
  23   smugglers and the like. Settlement ¶ 21.10
  24

  25
       The TVPRA allows ORR only two: i.e., the youth “is a danger to self or others or
       9

  26 has been charged with having committed a criminal offense.” TVPRA
  27 § 235(c)(2)(A).
     10 Even if an exception to licensed placement applies, ORR must house children in the
  28
     “least restrictive setting” practicable, Settlement ¶ 11, and may not place minors in a
                                                    10       MEMORANDUM IN SUPPORT OF MOTION TO
                                                                            ENFORCE SETTLEMENT
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   1          ORR’s “Notice of Placement in a Restrictive Setting,” Exhibit 22, however,
   2   posits seven reasons for secure, four for staff-secure, and four for RTC placement, a
   3   total of 15 grounds for denying class members their right to licensed placement.
   4          Some of these “extras” express little more than vague suspicion that a juvenile
   5   might be dangerous: e.g., “inappropriate sexual behavior,” or “[h]av[ing] self-
   6   disclosed . . . gang involvement prior to placement in ORR custody that requires
   7   further assessement.” Paragraph 21, however, allows step-up under specific
   8   circumstances, not mere vague suspicion.
   9          There can be no material dispute that ORR in fact dispatches youth to secure
  10   facilities precipitiously. In Saravia v. Sessions, 280 F. Supp. 3d 1168 (N.D. Cal.
  11   2017), ICE re-arrested several juveniles whom ORR had earlier released, allegedly
  12   because they were involved with gangs. Id. at 1178. ORR sent the youth to juvenile
  13   halls, including Yolo County’s. Id. at 1199. Yet according to Yolo County Juvenile
  14   Hall’s Chief Probation Officer, ORR’s evidence for sending the minors to his facility
  15   was “often insufficient, and . . . the Yolo County Probation Department . . . did not
  16   have just cause to detain most of these minors.” Id. at 1199.
  17          The court preliminarily enjoined ORR to provide re-arrested juveniles bond
  18   hearings and to release those whom immigration judges found non-dangerous. Id. at
  19   1205-06. Twenty-nine youth received hearings; judges ordered ORR to release
  20   twenty-six. Request for Judicial Notice, Saravia v. Sessions, No. 18-15114 (9th Cir.,
  21   March 16, 2018), Exhibit 79 (PX 554-55). All told, ORR had wrongly sent 90 percent
  22   to secure facilities.
  23          This Court has ample discretion to require meaningful procedural protection
  24   against ORR’s wrongfully denying class members their right to licensed placement. It
  25   should do so by entering Plaintiffs’ proposed order.
  26

  27
       juvenile hall if “less restrictive alternatives,” such as a “medium security facility” or
  28   “another licensed program” are available. Settlement ¶ 23.
                                                   11         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                             ENFORCE SETTLEMENT
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   1   IV    ORR UNLAWFULLY MEDICATES YOUTH WITHOUT PARENTAL AUTHORIZATION.
   2         ORR also regularly places youth on multiple psychotropic medications. It often
   3   tells children little or nothing about the drugs, nor does the agency obtain parental
   4   consent, or the legal equivalent thereof, to medicate children.
   5         There can be no question that psychotropic drugs can seriously and
   6   permanently injure children, yet ORR routinely administers such drugs to youth in
   7   utter disregard of state laws designed to support children’s mental health. Even when
   8   a child may truly benefit from psychotropics, both the law and common decency
   9   demand that parents decide whether their child should be medicated. Again, ORR
  10   prefers to act autocratically, regularly medicating children without consulting their
  11   parents, even those readily available to ORR and facility staff.
  12         A      ORR regularly compels youth to take psychotropic medications.
  13         ORR regularly places detained children on multiple psychotropic drugs
  14   regardless of the child’s concerns or wishes.
  15         Sometimes, facility staff will not tell youth what drugs they are being given or
  16   why. See, e.g., Julio Z. (PX 418) ¶ 16 (“I never knew exactly what the pills were.”);
  17   Julio Z. Patient Profile, Exhibit 63 (PX 413) (listing Clonazepam, Divalproex,
  18   Duloxetine, Guanfacine, Latuda, Geodon, and Olanzapine); Decl. of David I., Exhibit
  19   14 (PX 81) ¶ 7 (“David I.”) (“I take four pills in the morning and about four to six
  20   pills in the evening. I don’t know what all these pills are for, but I think the one I take
  21   at night are for depression and anxiety.”); David I. Patient Profile, Exhibit 57 (PX
  22   400) (listing Clonidine, Escitalopram, and Quetiapine); Decl. of Rosa L., Exhibit 17
  23   (PX 95) ¶ 5 (“Rosa L.”) (“I take 4 or 5 pills . . . one of the pills is for anxiety. I don’t
  24   know what the other pills are for.”); Rosa L. Patient Profile, Exhibit 58 (PX 402)
  25   (listing Aripiprazole, Chlorpromaz, Desmopressin, Escitalopram, Lamotrigine,
  26   Lithium, and Trazodone); Javier C. (PX 170) ¶ 5 (“I took nine pills in the morning
  27   and seven in the evening. I don’t know what medications I was taking . . .”); Decl. of
  28   Maricela J., Exhibit 48 (PX 262) ¶ 4 (“Maricela J.”) (“I take 4 pills in the morning . . .
                                                    12         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                              ENFORCE SETTLEMENT
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   1   then I have to take 5 more pills at night. I have not been told why I am required to
   2   take all this medication.”).
   3         ORR gives class members no choice but to take whatever psychotropic
   4   medications it prescribes. Youth report being told that if they refuse drugs they will
   5   remain detained, be denied release or privileges, or be physically forced to take them.
   6   See, e.g., Julio Z. (PX 417-18) ¶¶ 15, 16 (“The staff threatened to throw me on the
   7   ground and force me to take the medication. I also saw staff throw another youth to
   8   the ground, pry his mouth open and force him to take the medicine. . . . They told me
   9   that if I did not take the medicine I could not leave, that the only way I could get out
  10   of Shiloh was if I took the pills.”); David I. (PX 82) ¶ 8 (“I have not refused taking
  11   the pills because I was told that . . . would make me stay at Shiloh longer . . .”); Rosa
  12   L. (PX 95) ¶ 6 (“Sometimes they give me forced injections . . . one or two staff hold
  13   my arms and the nurse gives me an injection.”); Maricela J. (PX 263) ¶ 8 (“I
  14   witnessed staff members forcefully give medication four times . . .two staff members
  15   pinned down the girl . . . and a doctor gave her one or two injections . . .”); Isabella
  16   M. (PX 62) ¶ 14; Sofia O. (PX 229) ¶ 11.11
  17         Nor does ORR allow children who object to being medicated any procedural
  18   recourse. See, e.g., Julio Z. (PX 418) ¶ 20 (“I tried to ask [the doctor] why I was
  19   being forced to take the medications but he would ignore my questions . . . I wasn’t
  20   told of any way that I could challenge the decision to be on the medications.”);
  21   Maricela J. (PX 262) ¶ 5 (“I have complained about receiving too many medications
  22   and Dr. Ruiz says it is not within his control . . .”); Javier C. (PX 171) ¶ 10 (“I wanted
  23

  24

  25   Youth report that Shiloh staff, in particular, will leave medicated children in
       11

     common areas until they recover their senses. See, e.g., Javier C. (PX 171) ¶ 8
  26 (“[T]hey would come and give me a shot to tranquilize me. . . . [Then] they left me in

  27 the classroom near the wall to sleep.”); David I. (PX 83) ¶ 11 (“Two staff grabbed
     me, and the doctor gave me the injection despite my objection and left me there on
  28 the bed.”).
                                                   13         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                             ENFORCE SETTLEMENT
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   1   to stop taking all these medications . . . but . . . they told me that I had to continue
   2   because it calmed me.”).
   3         B        ORR unlawfully usurps parental rights to make medication
   4                  decisions.
   5         ORR medicates children wholly without regard for their parents’ wishes. See,
   6   e.g., Decl. of Mother of Isabella M., Exhibit 12 (PX 71, 74) ¶ 4 (“Mother of Isabella
   7   M.”) (“Nobody asked me for my permission to give medications to my daughter,
   8   even though the staff at Shiloh has always had my telephone number and address.”);
   9   Maricela J. (PX 263) ¶ 7 (“I don’t think anyone in my family was asked if it was okay
  10   for me to take medicine.”); David I. (PX 81) ¶ 7 (“As far as I know, ORR did not ask
  11   my mother for permission before thay gave me the medication.”).
  12         ORR or facility staff instead sign forms “consenting” to children’s medication,
  13   though the forms themselves recognize the consenting authority only of a “Parent,
  14   Guardian, or Conservator.” See, e.g., Decl. of Carter White, Exhibit 89 (PX 654-55)
  15   (Shiloh staff sign consent form, not parent, relatives or potential sponsor); (Isabella
  16   M. Medication Forms, Exhibit 59, PX 404-05 (medication forms signed by Shiloh
  17   staffer Tabatha Ketner as “Parent, Guardian, or Conservator”); Gabriela N.
  18   Medication Form, Exhibit 60, PX 407 (same); Sofia O. Medication Form, Exhibit 61,
  19   PX 409 (same); Julio Z. Parental Medical Authorization Form, Exhibit 62, PX 411
  20   (medical consent supplied by Yolo Director F. Ray Simmons, not parent or
  21   guardian).12
  22

  23

  24

  25   ORR’s forms appear to require its own consent before facilities medicate children,
       12

     but they do not suggest that facilities obtain consent from a child’s parent or
  26 judicially authorized consenter. See, e.g., ORR Authorization for Medical, Dental,

  27 and Mental Health Care for Carlos A., Exhibit 88, PX 651-52. As discussed below,
     Texas law requires such judicial authorization in the absence of parental consent.
  28 Tex. Fam. Code Ann. § 266.004(b).
                                                    14         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                              ENFORCE SETTLEMENT
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   1         C      Psychotropic drugs threaten children with serious, long-term injury.
   2         Psychotropic medications act on the central nervous system and affect
   3   cognition, emotions, and behavior, and serious, long-lasting adverse effects are
   4   common. In adults, psychotropic drugs can have serious and sometimes irreversible
   5   side effects, including psychosis, seizures, irreversible movement disorders, suicidal
   6   ideation, weight gain, and organ damage. Government Accountability Office, GAO-
   7   12-270T, Foster Children: HHS Guidance Could Help States Improve Oversight of
   8   Psychotropic Prescriptions, 5-6 (Dec. 1, 2011) (“HHS Guidance”).
   9         Comparatively little is known about the effects of psychotropic drugs on
  10   children and adolescents. ACF Children’s Bureau, ACYF-CB-IM-12-03, Information
  11   Memorandum, 7-8 (Apr. 11, 2012) (“ACF Memorandum”). The FDA has approved
  12   only a few such drugs for children, and when these are prescribed, careful oversight
  13   and monitoring are essential. HHS Guidance at 4. Giving children multiple
  14   psychotropic drugs is almost always to be avoided because “[i]ncreasing the number
  15   of drugs used concurrently increases the likelihood of adverse reactions and long-
  16   term side effects, such as high cholesterol or diabetes . . . ” Id.
  17         The importance of oversight when giving psychotropic medications to children
  18   is well established. Without it, the potential for abuse—including using drugs as
  19   “chemical straight-jackets” to control children, rather than to treat actual mental
  20   health needs—is unacceptably high. See 42 U.S.C. § 622(b)(15)(A) (requiring states
  21   to develop “a plan for the ongoing oversight and coordination of health care services
  22   for any child in a foster care placement,” including “protocols for the appropriate use
  23   and monitoring of psychotropic medications.”); ACF Memorandum 10-11
  24   (“Strengthened oversight of psychotropic medication use is necessary” as is “close
  25   supervision and monitoring . . . [and] careful management and oversight” in
  26   administering children psychotropics.).
  27         Not surprisingly, children medicated in ORR custody report negative side
  28   effects, including nausea, dizziness, somnolence, depression, and grotesque weight
                                                    15         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                              ENFORCE SETTLEMENT
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   1   gain. See, e.g., Julio Z. (PX 418) ¶ 18 (“After taking the medication, I was more tired,
   2   I felt sad and my eyes got teary . . . I began to gain a lot of weight . . . In
   3   approximately 60 days, I gained 45 pounds.”); Javier C. (PX 170) ¶ 5 (“The medicine
   4   made me fat. I used to be really skinny.”); Maricela J. (PX 262) ¶ 5 (“When I take
   5   medicine, I do not have any mood. . . . I have suffered side effects including
   6   headaches, loss of appetite and nausea.”); Mother of Isabella M. (PX 71, 74) ¶ 4
   7   (“[T]hey are requiring [my daughter] to take very powerful medications for anxiety. I
   8   have noted that [she] is becoming more nervous, fearful, and she trembles. [She] tells
   9   me that she has fallen several times . . . because the medications were too powerful
  10   and she couldn’t walk.”); Letter re: Psychotropic Medications, Exhibit 27,
  11   Attachment 10, PX 158 (Yolo psychologist notes child “overmedicated”;
  12   recommends drugs be “taper[ed] off”).
  13          D      ORR’s disregard for state law safeguards in medicating youth
  14                 violates the Settlement.
  15          Facilities in which ORR places minors with mental health needs must “meet
  16   those standards . . . set forth in Exhibit 1.” Settlement ¶¶ 6, 8.13 Exhibit 1 requires that
  17   licensed programs “comply with all applicable state child welfare laws and
  18   regulations . . . and shall provide or arrange for the following services for each minor
  19   in its care: . . . appropriate mental health interventions when necessary. (Emphasis
  20   added). See also Letter from James De La Cruz, April 2, 2018, Exhibit 83, PX 598
  21   (acknowledging applicability of Texas law to Shiloh RTC).
  22          In Texas, where Shiloh RTC is located,14 parents have the right to control a
  23   minor child’s medical, dental, and psychological treatment absent a judicial
  24

  25
        Licensed or not, ORR may place children only in facilities that are “safe” and
       13

  26 “consistent with . . . concern for the particular vulnerability of minors . . .” Settlement
  27 ¶ 12A.
     14 Though the most severe medication abuses occur at Shiloh RTC, juveniles at other
  28
     ORR facilities are also administered psychotropics. See, e.g., Julio Z. Parental
                                                    16          MEMORANDUM IN SUPPORT OF MOTION TO
                                                                               ENFORCE SETTLEMENT
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   1   determination of unfitness. Tex. Fam. Code Ann. § 151.001(a)(6). Only rarely does
   2   Texas law permit non-parents to authorize a child’s medical treatment. Tex. Fam.
   3   Code Ann. § 32.001. Even adults with the “actual care, control, and possession of the
   4   child” must obtain “written authorization to consent from a person having the right to
   5   consent” to treat a minor. Tex. Fam. Code Ann. § 151.001(a)(4).
   6         When the state’s Department of Family and Protective Services (“DFPS”) acts
   7   in loco parentis, Texas law requires that it obtain judicial authorization to treat a
   8   minor. Tex. Fam. Code Ann. § 266.004(a), (b). DFPS may not unilaterally designate
   9   itself or treatment center staff as a child’s medical consenter. DFPS, CHILD
  10   PROTECTIVE SERVICES HANDBOOK § 11113.2.
  11         Consent to administer psychotropics to dependent youth must be given by
  12   someone lawfully authorized to do so, and the consenting party must be informed of
  13   risks and alternatives to the proposed medications. Tex. Fam. Code Ann. § 266.0042.
  14   The consenter must also be told about non-pharmacological alternatives to
  15   psychotropic drugs. CHILD PROTECTIVE SERVICES HANDBOOK, supra, § 11323.
  16         Preferring autocracy to due process, ORR does none of this. The Court should
  17   order ORR to obtain parental consent, or the lawful equivalent thereof, and to
  18   otherwise comply fully with state law when administering psychotropic drugs to
  19   detained youth.
  20   V     ORR PEREMPTORILY EXTENDS MINORS’ DETENTION ON SUSPICION THAT
  21         AVAILABLE CUSTODIANS MAY BE UNFIT.

  22         Youth may spend weeks, months or even years in ORR custody. Each day,
  23   they risk offending staff or violating facility rules, whereupon ORR may summarily
  24   step them up.15 Beyond subjecting them to institutional security and drugging, step-up
  25
       Medical Authorization Form, Dec. 4, 2016, Exhibit 62, PX 411 (Yolo Institutional
  26   Services Director provide medical consent in place of parent/guardian).
  27   At any given time, ORR detains about 40 youth in RTCs, 50 in juvenile halls, and
       15

     115 in staff-secure facilities. Holguín (PX 648) ¶ 4. ORR’s data do not include the
  28
     average length of stay for youth placed in these facilities. However, in December
                                                   17         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                             ENFORCE SETTLEMENT
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   1   deals youth an additional blow: once ORR sends a youth to an unlicensed placement,
   2   his or her chances of prompt release vanish.
   3         Settlement ¶ 14 provides: “Where the INS determines that the detention of the
   4   minor is not required either to secure his or her timely appearance before the INS or
   5   the immigration court, or to ensure the minor’s safety or that of others, the INS shall
   6   release a minor from its custody without unnecessary delay . . .”16 Further grounding
   7   ORR’s obligation to minimize children’s detention, Settlement ¶ 18 provides, “Upon
   8   taking a minor into custody, the INS . . . shall make and record the prompt and
   9   continuous efforts on its part toward . . . the release of the minor . . .”
  10         A      ORR unlawfully demands exceptional abilities in custodians for
  11                stepped-up youth.
  12         The Settlement is clear: ORR has three—and only three—reasons to continue
  13   youth in detention: (1) dangerousness; (2) flight-risk; and (3) the lack of a custodian
  14   who will not harm or neglect them. Settlement ¶ 14.
  15         ORR professes not to detain youth as flight-risks. ORR, Interim Guidance on
  16   Flores v. Sessions, July 18, 2017, Exhibit 8, PX 48 (“Interim Guidance”). And since
  17   July 2017, immigration judges have reviewed a child’s dangerousness. 24A Order,
  18   aff’d, Flores v. Sessions, supra, 862 F.3d 863.
  19         ORR continues, however, to detain children indefinitely because it suspects a
  20   potential custodian may be unfit, and it does so entirely without timely neutral and
  21

  22
     2017 ORR released just one youth to a custodian from Shenandoah Valley Juvenile
  23 Center, one from Yolo Juvenile Hall, and none from Northern Virginia Juvenile
     Detention Center. Id. (PX 649) ¶ 5.
  24
       Children in RTCs faced similar odds: ORR released one class member from
  25   MercyFirst to a custodian during December, and one from Shiloh. Id.
  26    If a child has more than one potential custodian, ORR must release first to a parent,
       16


  27 then to a legal guardian, adult sibling, aunt, uncle, or grandparent, an unrelated adult
     or entity designated by the minor’s parent, a juvenile shelter, and finally, if there is no
  28 likely alternative to long-term detention, an unrelated adult. Settlement ¶ 14.
                                                    18         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                              ENFORCE SETTLEMENT
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   1   detached review. E.g., Interim Guidance, PX 48. In reality, ORR extends non-
   2   dangerous children’s confinement for reasons having little or nothing to do with a
   3   custodian’s actual propensity to harm or neglect.
   4         In June 2017 ORR amended its online “Policy Guide” to provide: “The
   5   ORR/FFS elevates release decisions to the ORR Director, or the Director’s designee,
   6   for any UAC in a secure or staff secure facility, or for any UAC who had previously
   7   been in a secure or staff secure facility. The ORR Director or designee makes release
   8   decisions for children in these types of facilities.” ORR, Children Entering the United
   9   States Unaccompanied: § 2.7, available at www.acf.hhs.gov/orr/resource/children-
  10   entering-the-united-states-unaccompanied-section-2#2.7 (last rev. June 12, 2017).
  11         ORR’s director must now approve the release of all class members “who are in
  12   or were previously placed in a secure or staff-secure facility [even if they] have
  13   prevailed in a Flores bond hearing on a question of dangerousness . . .” or were
  14   stepped up on the weight of “incomplete, inaccurate or erroneous information” that
  15   the minor was affiliated with a gang. FAQ: ORR DIRECTOR’S RELEASE DECISION, Jan.
  16   26, 2018, Exhibit 24, PX 120 (emphasis added). Children, their parents and other
  17   available custodians describe a Kafkaesque experience in trying to free a child from
  18   ORR detention.
  19         Class member Santiago H.’s experience illustrates ORR’s refusal to release
  20   children from secure detention. In November 2017, ORR confined Santiago at the
  21   Shenandoah Valley Juvenile Center (“SVJC”). Case Review, undated, Exhibit 71, at
  22   PX 451. SVJC personnel determined that Santiago “does not present any mental
  23   health concerns,” “gets along well with others,” and “does not appear to present a risk
  24   to himself or the community at this time.” Id. at PX 452. SVJC recommended ORR
  25   release Santiago to his aunt. Id. ORR ignored the findings and recommendation,
  26   leaving Santiago in secure confinement for months.
  27         In February 2018, Immigration Judge John Bryant held a bond hearing and
  28   found Santiago not a danger to the community. The court ordered ORR to step him
                                                  19        MEMORANDUM IN SUPPORT OF MOTION TO
                                                                           ENFORCE SETTLEMENT
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   1   down to a less secure placement. Custody Order, Feb. 21, 2018, Exhibit 68, PX 443.
   2   ORR ignored the order. Email from T. Biswas, Feb. 23, 2018, Exhibit 70, PX 448.
   3         In March Santiago turned 18, and ORR turned him over to ICE. ICE
   4   dispatched Santiago to an adult detention facility. Later that month, Immigration
   5   Judge Karen Donoso-Stevens ordered Santiago released. Order of the Immigration
   6   Judge, March 20, 2018, Exhibit 69, PX 445. Santiago is now free to live with his
   7   aunt, which ORR could block only because she would harm or neglect him. The only
   8   difference: Santiago was now a day older.17
   9         In September 2017, ORR placed class member Nicolás C. at the Paso staff-
  10   secure facility in Portland, Oregon. According to his mother, ORR prolonged her
  11   son’s confinement because she had earlier suffered from cancer:
  12         [Case worker] Erich . . . assured me again and again that the [release] process
  13         would not take long, about 30 days at the most. . . . I sent [all the documents he
  14         requested] without delay. . . .
  15         However, Erich kept asking me for more and more documents: among them,
  16         files from doctors to verify that my cancer would not hinder me from taking
  17         care of my son. These . . . caused me great sorrow, and they did not seem
  18         necessary to have my son. I believe that a mother has the right to take care of
  19         her child even though she is incapacitated, although I am not. It occurred to me
  20         that they were looking for an excuse to deny me my son[.] . . .
  21   Decl. of Mother of Nicolás C., Exhibit 1 (PX 3, 7) (“Mother of Nicolás C.”) ¶¶ 7-8;
  22   see also Grandfather of Gabriela N., Exhibit 67 (PX 438) ¶ 9 (“Grandfather of
  23   Gabriela N.”) (youth detained six months at Shiloh RTC; “I got the impression that
  24   the home investigator didn’t think I made enough money to be able to support [my
  25   granddaughter] and myself.”); Decl. of Camila G., Exhibit 55 (PX 393) ¶ 8 (“Camila
  26

  27   If Santiago’s example provokes a feeling of déjà vu, it is with good reason. See 24A
       17

     Order at 8 (youth spent months in secure ORR detention, only to be released pursuant
  28 to immigration judge’s order after turning 18 and being transferred to ICE custody).
                                                 20         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                           ENFORCE SETTLEMENT
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   1   G.”) (youth detained for one year and three months; “My case worker told me that the
   2   only reason that I haven’t been released to my aunt . . . is because I don’t have an
   3   official birth certificate[.] . . . My mother died before she could register me for
   4   [one].”).18
   5          B      ORR prolongs children’s detention on the specious ground that
   6                 mental health care is elsewhere unavailable.
   7          ORR also extends detention of youth summarily placed in RTCs on the theory
   8   they cannot get mental health care anywhere else. Notice of Placement in a Restricive
   9   Setting, Exhibit 22, PX 114 (grounds for RTC placement include, “ORR has
  10   determined that you have a psychiatric or psychological issue that cannot be
  11   addressed in an outpatient setting.”).19
  12
       18 Accounts abound of ORR prolonging children’s detention for no apparent reason.
  13
       E.g., Carlos A. (PX 176) ¶ 10 (minor detained four months; “My case manager said
  14   the only reason that I haven’t been released is that the government is now reviewing
       my case. They have not told me how long it would take . . .”); Decl. of Miguel B.,
  15
       Exhibit 32 (PX 179) ¶ 5 (youth detained five months; “My mom began trying to get
  16   me back . . . Someone came to inspect her house and everything came out well.
       Neither of us understands why I am still here.”); Roberto F. (PX 214, 217) ¶ 6 (youth
  17
       detained ten months; “[M]y mom moved from Kansas to Texas to be closer to me. . .
  18   . They continued to take long making the decision to let me live with her. According
       to her, the government did a study of the home, and everything went well.”).
  19
       19The evidence suggests that months or years of detention itself brings on the
  20   psychological distress for which ORR then medicates children:
  21          Since last year, when my daughter became a prisoner, I have noticed that she is
  22          more and more depressed . . . She tells me that she doesn’t want to be in the
              detention center. When my daughter and I lived together in Honduras, we
  23          never had mental problems. . . . In my opinion, detention is affecting [Isabella]
  24          a lot, and she would quickly get better if they were to return her to me.
  25 Mother of Isabella M. (PX 70-71, 73-74) ¶ 3; see also Grandfather of Gabriela N.
     (PX 439) ¶¶ 14-15 (granddaughter “did not have any mental health problems. . . . I
  26 think that being locked up for several months has made her be more anxious and

  27 upset.”); Excerpts from ORR File for Victoria R., Exhibit 84, PX 605 (“Separation
     from family” and “Frustration of lengthy reunification process” are “Major Stressors”
  28 for the child).
                                                   21         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                             ENFORCE SETTLEMENT
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   1         Since May 2017—some 10 months now—ORR has detained Isabella M. In
   2   early October 2017, ORR placed her at the Shiloh RTC, from which it has doggedly
   3   refused to release her because “[t]he doctor has said I can’t leave until I can control
   4   myself. He hasn’t told me a time frame for how long it will be before I’m ready.”
   5   Isabella M. (PX 61) ¶ 3. Isabella M.’s mother corroborates:
   6         During the summer of last year, a home investigator, Jorge Arango, came twice
   7         to evaluate my house. . . . When he finished, he told me that everything was
   8         approved . . . Much time went by without any further word . . . I called several
   9         times asking when they were going to give me [Isabella] back. They always
  10         answered that it depended on the doctor . . .
  11   Mother of Isabella M. (PX 71, 74) ¶ 5; see also Decl. of Daniella Q., Exhibit 9 (PX
  12   57) ¶ 3 (“I have been told that the doctor has to say it is alright to release me to my
  13   dad.”); Decl. of Victoria R., Exhibit 13 (PX 78) ¶ 4 (same); Decl. of Arturo S.,
  14   Exhibit 21 (PX 110) ¶ 3 (same).
  15         C      ORR must give non-dangerous youth a prompt and meaningful
  16                opportunity to be heard regarding a proposed custodian’s fitness.
  17         Rather than assess custodians’ basic fitness, ORR consistently demands
  18   extraordinary prowess of stepped-up class members’ custodians.20 The Settlement,
  19   however, allows ORR to detain a non-dangerous minor only if it “has reason to
  20   believe [an available custodian] may harm or neglect the minor . . .” Settlement ¶ 11
  21   (emphasis added).21
  22         Even assuming, arguendo, the Settlement were to allow ORR to demand
  23   exceptional qualifications of custodians for stepped-up youth, it affords no
  24

  25    Inasmuch as ORR steps up youth autocratically in the first place, its leveraging
       20

  26 step-up to confine youth until and unless a doyen appears is palpable exacerbation.
     21 ORR’s prolonging class members’ confinement via such policies also violates their
  27
     right to placement in the least restrictive setting consistent with their best interests, a
  28 violation of TVPRA § 235(c)(2)(A).
                                                   22        MEMORANDUM IN SUPPORT OF MOTION TO
                                                                            ENFORCE SETTLEMENT
                                                                           CV 85-4544-DMG (AGRX)
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   1   meaningful chance to be heard on the need for extra qualifications or whether a given
   2   custodian possesses them. Again, ORR simply decrees what qualifications a
   3   custodian must have and then decides unilaterally whether he or she possesses them.
   4   ORR knows that more process than that is surely due.
   5          In Beltran v. Cardall, 222 F. Supp. 3d 476 (E.D. Va. 2016), ORR refused to
   6   release a youth on the ground he “‘require[d] an environment with a high level of
   7   supervision and structure,’ and it did not ‘appear . . . that [his mother’s] home [could]
   8   provide the structure and supervision necessary[.] . . .’” Id. at 480 (internal citation
   9   omitted).
  10          The minor’s mother sued to compel ORR to release her son. Id. at 481. The
  11   district court initially denied a writ, id., but the Fourth Circuit reversed in part and
  12   instructed the trial court to decide whether ORR had denied due process. Id. Held:
  13   “[O]nce ORR decided to withhold RMB from Petitioner's care, ORR ‘ha[d] the
  14   burden to initiate’ proceedings to justify its action. . . . [It] could not simply require
  15   Petitioner to change the agency’s mind.” Id. at 486 (internal citations omitted). The
  16   court ordered ORR to release the minor immediately, adding that ORR could refer
  17   any concerns it may have for the youth’s well-being to state juvenile authorities. Id. at
  18   489.
  19          Again in Santos v. Smith, 260 F. Supp. 3d 598 (W.D. Va. 2017), ORR refused
  20   to release a minor to his mother on the ground that “‘he requires an environment with
  21   a high level of supervision and structure that [his mother is] unable to provide at this
  22   time[.] . . .’” Id. at 602. Again, the family sued to compel release. Id. at 600. Again,
  23   the court held that ORR’s refusing release denied due process: “[H]ad better or more
  24   process been given (especially as to the delay and the burden being on Ms. Santos to
  25   initiate and justify reunification, rather than the default rule being otherwise), the
  26   outcome could have been different. . . .” Id. at 614.
  27          ORR remains undeterred, regularly extending children’s confinement because
  28   it questions their proposed custodians’ fitness while refusing to submit its suspicions
                                                    23         MEMORANDUM IN SUPPORT OF MOTION TO
                                                                              ENFORCE SETTLEMENT
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   1   to neutral and detached review. E.g., Mother of Nicolás C. (PX 4, 8) ¶ 14 (nobody
   2   “has told me anything about my son. I have not been made aware of any procedure by
   3   which a mother can oppose the prolonged detention of her child [.] . . .”); Decl. of
   4   Sister of Victoria R., Exhibit 65 (PX 426-27, 429-30) ¶ 4 (“They didn’t give me any
   5   opportunity to explain to them . . . that nothing would happen [to my sister] if they
   6   would let me take care of her.”); Grandfather of Gabriela N. (PX 439) ¶ 12 (“When I
   7   reached out to [my granddaughter’s] social worker at Shiloh, she told me that ORR
   8   threw out my application [to be her custodian] . . . ORR has never officially told me .
   9   . . that my application has been rejected.”); Camila G. (PX 394) ¶ 13 (child detained
  10   one year and three months; “I don’t know what I can do or what the next step can be
  11   for me to try and get out of the shelter if ORR does not allow me to live with my aunt
  12   . . .”).
  13              In Beltran and Santos the courts held ORR’s vetting of custodians lacking in
  14   threshhold constitutionality.22 Here, a consent decree requires ORR to release minors
  15   promptly to qualified custodians whether or not release is constitutionally required.
  16

  17

  18   ORR may not detain youth “for their own good” without proving that their parents
       22

     are unfit. Quilloin v. Walcott, 434 U.S. 246, 255 (1978) (“Due Process Clause would
  19
     be offended ‘[if] a State were to attempt to force the breakup of a natural family . . .
  20 without some showing of unfitness and for the sole reason that to do so was thought
     to be in the children’s best interest.’”) (internal citations omitted).
  21
       Obviously, ORR detention also impairs children’s right to physical liberty. Saravia,
  22
       supra, 280 F. Supp. 3d at 1195.
  23 The Settlement expands these rights, entitling class members to release to specified
  24 non-parents, including grandparents and adult siblings.

  25 ORR’s confining youth until it thinks them mentally fit raises further constitutional
     concerns. It is hard to distinguish such detention from civil commitment, which, of
  26 course, represents a “massive curtailment of liberty,” lawful only with due process

  27 and proof of dangerousness to others. O’Connor v. Donaldson, 422 U.S. 563, 575
     (1975) (government may not “confine the mentally ill merely to ensure them a living
  28 standard superior to that they enjoy in the private community”).
                                                     24        MEMORANDUM IN SUPPORT OF MOTION TO
                                                                              ENFORCE SETTLEMENT
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   1   Cf. Local No. 93, Int’l Ass’n of Firefighters. v. Cleveland, 478 U.S. 501, 525 (1986)
   2   (consent decree may confer greater relief than could have been obtained at trial).
   3         ORR’s peremptorily declaring custodians unfit falls short of constitutional
   4   minimums, and it can hardly satisfy the Settlement. The Court should order ORR to
   5   release non-dangerous class members promptly to available custodians or else submit
   6   doubts about their fitness for neutral and detached review.
   7   VI    CONCLUSION
   8         For the foregoing reasons, this Court should grant this motion and enter
   9   Plaintiffs’ proposed order.23
  10

  11    Dated: April 16, 2018                      Respectfully submitted,
  12
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  23                                                  /s/
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  25

  26    Counsel wish to acknowledge the invaluable assistance of U.C. Davis students
       23

       Gladys Hernandez, Christian Hatchett, and Mayra Sandoval in preparing this brief.
  27
       Plaintiffs will separately move the Court to award them attorney’s fees and costs
  28   incurred in the prosecution of this motion.
                                                 25          MEMORANDUM IN SUPPORT OF MOTION TO
                                                                            ENFORCE SETTLEMENT
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